Dear Director Tuttle,
The Attorney General's Office is in receipt of your letter wherein you ask, in effect, the following question:
May an otherwise valid petition once presented to the State Boardof Vocational and Technical Education be rendered invalid by themere passage of time, where the State Board has taken no action tosubmit the matter to the electorate?
This opinion will be limited to that narrow question. Of course, 70 O.S. 14-108(E) (1975) grants the State Board the power to create rules and regulations for the purpose of annexation. Pursuant to such authority, the State Board has adopted rules and regulations which govern annexation of area school districts. Rules and Regulations, Vo-Tech, Part X, Section 1(b). The rules state that once a valid petition is presented to the Board, complying with procedural steps contained therein, the State Board shall call an election for the specified purpose. The rules are silent as to the length of time an otherwise valid petition remains so for the purpose for which it was presented. There is no case law or former Attorney General Opinion on the question.
Title 70 O.S. 2-101 (1974) is the specific statute which grants the Board authority to submit properly presented questions to the electorate. In essence, it provides that annual elections, for the purpose of electing board members and/or levies shall be held on the fourth Tuesday in January. On all other matters or questions authorized by law, the Board has discretion to call a special election. Elections for annexation purposes are authorized by law. 70 O.S. 14-108(E) (1975).
The gist of 70 O.S. 2-101 (1974) is to impose upon the Board the affirmative duty to act once it has been presented with a valid petition. A clear reading of the provisions, provides that the Board may either call a special election or place the matter on the next annual school election ballot. The provision merely establishes the method(s) by which the Board must act. It does not contemplate the situation where no action is taken. Neither is there an intent to render invalid an otherwise valid petition.
It is, therefore, the opinion of the Attorney General that once theState Board is presented with an otherwise valid petition, that the StateBoard of Vocational and Technical Education has a statutory duty to actupon the petition. Failure to act does not render the petition invalid.The petition remains valid until acted upon, by either calling a specialelection or causing the matter to be placed on the next annual schoolelection ballot.
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
JOHN F. PERCIVAL, ASSISTANT ATTORNEY GENERAL